    Case 2:22-cv-04355-JFW-JEM Document 376-35 Filed 07/27/23 Page 1 of 1 Page ID
                                     #:26380             C




                                        Claire
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                                                           Survivor
                                     DecentralizeS
                                   clairechronicles.co

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  hey ryder, can you mint me BAYC #6412 pls?


May IZ 2022, 5:54 PM




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  phire, made my offer
                                                                                            Exhibit 125
May 17,2022,7:32 PM                                                                         Deponent: R' der Ripps
                                                                                            Date: Janury 12. 2023
                                                                                            CSR No: 14123



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                                                     JTX-0125.00001
